                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE


 UNITED STATES OF AMERICA,                     )
                                               )
                        Plaintiff,             )
                                               )
 v.                                            )               No. 3:07-CR-51
                                               )               (Varlan / Shirley)
 JOHNNIE MARTIN,                               )
                                               )
                        Defendant.             )


                                 MEMORANDUM AND ORDER

        All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

 ' 636(b) for disposition or report and recommendation regarding disposition by the District Court

 as may be appropriate.

        On May 9, 2008, this matter came before the Court upon request of Defendant Johnnie

 Martin to terminate his self-representation and motion for the Court to appoint counsel. [Doc. 345].

 Johnnie Martin was present with his previously-appointed elbow counsel, Attorney Stephen

 Burroughs. The government was represented by Assistant United States Attorney David Jennings,

 who did not oppose the defendant’s request. The Court found Mr. Martin’s request well-taken, and

 his pro se Motion to Terminate Self-Representation and Substitution of Counsel [Doc. 345] was

 GRANTED. Attorney Stephen Burroughs shall be entered as counsel of record for Mr. Martin.

 Upon appointment of counsel, Mr. Martin agreed that his pro se request for leave to file additional

 motions relating to his ability to prepare for the retrial while in jail was now moot, and Motion for

 Leave to File Additional Motions [Doc. 346] was DENIED.




Case 3:07-cr-00051-TAV-HBG           Document 357         Filed 05/23/08      Page 1 of 3      PageID
                                           #: 983
         Attorney Burroughs next made an oral motion to continue the June 30, 2008, trial date.

 Attorney Burroughs stated that he would require a reasonable amount of time to review all the

 discovery materials, to include thousands of recorded telephone calls, to consult with Mr. Martin,

 to review the transcripts of the first trial of this case, to conduct any necessary factual investigation

 and to prepare for trial. The Court found the oral motion to continue the trial to be well-taken and

 agrees with the parties that the ends of justice served by granting the continuance outweigh the

 interest of the defendant and the public in a speedy trial. 18 U.S.C. § 3161(h)(8)(A). The Court

 observes that Attorney Burroughs has only assumed representation of Mr. Martin on this date.

 Attorney Burroughs has accepted this appointment with the case in a far more advanced posture than

 is typical, and the Court will afford him time to review the files of prior counsel, review and become

 familiar with materials disclosed in discovery, conduct any remaining legal or factual investigation,

 and prepare for trial. See 18 U.S.C. § 3161(h)(8)(B)(iv). The Court finds that this all could not take

 place before the swiftly approaching June 30, 2008, trial date despite counsel’s exercise of due

 diligence. See 18 U.S.C. § 3161(h)(8)(B)(iv). Thus, the Court finds that the failure to grant a

 continuance would deprive counsel of time to prepare for trial despite the use of due diligence. See

 18 U.S.C. § 3161(h)(8)(B)(iv). Moreover, requiring the defendant to go to trial as originally

 scheduled despite his attorney’s lack of time to prepare would likely result in a miscarriage of

 justice. See 18 U.S.C. § 3161(h)(8)(B)(I).

         The Court questioned Mr. Martin, who stated that he understood that a trial continuance was

 necessary. Mr. Martin expressed that it is in his best interest to proceed with counsel who has

 adequate time to prepare for trial. The defendant stated that he understood the facts as stated by

 Attorney Burroughs and that he agreed with the need for a continuance. Mr. Martin confirmed with



                                                    2


Case 3:07-cr-00051-TAV-HBG             Document 357         Filed 05/23/08       Page 2 of 3      PageID
                                             #: 984
 the Court that he understood that he will remain in jail pending his new trial date.

        The Court finds that the ends of justice served by granting a continuance outweigh the

 interest of the defendant and the public in a speedy trial. 18 U.S.C. § 3161(h)(8)(A). Given the

 approaching June 30, 2008, trial date, the Court finds that the failure to grant a continuance would

 deprive the defendant of the time necessary for adequate trial preparation. U.S.C. § 3161(h)(1)(F).

 Further, the Court finds that new defense counsel will need time to conduct preparation as set forth

 above and to prepare for trial in light of the significant record in this case. The Court finds that all

 of this could not take place before the June 30, 2008, trial date or in less than 90 days. Thus, without

 a continuance, counsel would not have the reasonable time necessary to prepare for trial despite the

 use of due diligence. See 18 U.S.C. § 3161(h)(8)(B)(iv).

        Accordingly, it is ORDERED:

               (1) The Motion to Terminate Self-Representation and
               Substitution of Counsel [Doc. 345] is GRANTED.

               (2) Motion for Leave to File Additional Motions [Doc. 346] is
               DENIED as moot.

               (3) Attorney Stephen Burroughs is APPOINTED to represent
               Mr. Martin for the reaminder of this case.

               (4) The oral motion for a continuance of the case is
               GRANTED.

               (5) The trial of this matter is reset to commence on September
               15, 2008, at 9:00 a.m., before the Honorable Thomas A.
               Varlan, United States District Judge.

                IT IS SO ORDERED.

                                                        ENTER:

                                                          s/ C. Clifford Shirley, Jr.
                                                        United States Magistrate Judge

                                                    3


Case 3:07-cr-00051-TAV-HBG             Document 357         Filed 05/23/08      Page 3 of 3      PageID
                                             #: 985
